Case 5:20-cv-02409-DSF-SP Document 10 Filed 10/22/21 Page 1 of 1 Page ID #:260



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  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11   JESUS RIVERA,                        )   Case No. 5:20-cv-02409-DSF (SP)
 12                                        )
                           Petitioner,     )   ORDER ACCEPTING FINDINGS AND
 13                                        )   RECOMMENDATION OF UNITED
                     v.                    )   STATES MAGISTRATE JUDGE
 14                                        )
      NEIL MCDOWELL, Warden,               )
 15                                        )
                           Respondent.     )
 16                                        )
      ___________________________          )
 17
 18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, records on
 19 file, and the Report and Recommendation of the United States Magistrate Judge.
 20 Petitioner has not filed any written Objections to the Report within the time
 21 permitted. The Court accepts the findings and recommendation of the Magistrate
 22 Judge.
 23         IT IS THEREFORE ORDERED that respondent’s Motion to Dismiss (docket
 24 no. 6) is granted and Judgment will be entered denying the Petition and dismissing
 25 this action with prejudice.
 26
 27 DATED: _______________
           October 22, 2021              ___________________________________
                                         HONORABLE DALE S. FISCHER
 28                                      UNITED STATES DISTRICT JUDGE
